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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

PFIZER INC., PFIZER IRELAND                     )
PHARMACEUTICALS, and                            )
BRISTOL-MYERS SQUIBB COMPANY,                   )
                                                )
                      Plaintiffs,               )
                                                )
       v.                                       )    C.A. No. ______________
                                                )
APOTEX INC. and APOTEX CORP.,                   )
                                                )
                      Defendants.               )

             PFIZER PLAINTIFFS’ RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1, Plaintiff Pfizer Inc. has no parent corporation and no

publicly held company owns 10% or more of its stock. Plaintiff Pfizer Ireland Pharmaceuticals is

a wholly-owned, indirect subsidiary of Pfizer Inc.

                                                MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                /s/ Megan E. Dellinger
                                                ___________________________________
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 May 23, 2024
